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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


DOSKOCIL MANUFACTURING                       :
COMPANY, INC. d/b/a PETMATE,                 :
                                             :
       Plaintiff,                            :
                                             :
V.                                           : CIVIL ACTION NO. __________________
                                             :
KC PET PRODUCTS, LLC,                        :
                                             :
       Defendant.                            :

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, Doskocil Manufacturing Company, Inc. d/b/a Petmate, (“Petmate”), by its

undersigned counsel hereby files this Complaint for Declaratory Judgment against Defendant,

KC Pet Products, LLC (“KC Pet Products”) as follows:

                                            PARTIES

       1.      Plaintiff, Petmate, is a corporation organized and existing under the laws of the

State of Texas with its principal place of business at 2300 East Randol Mill Road, Arlington,

Texas 76011.

       2.      Defendant, KC Pet Products, is a limited liability company organized under the

laws of the State of Oregon with its principal place of business at 7731 Northeast 33rd Drive,

Suite D, Portland, Oregon 97211.

                                JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a) because this is a civil action arising under an Act of Congress and arising

under the Lanham Act of 1946, 15 U.S.C. § 1051, et seq. and under the principles of

supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

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       4.      The matter in controversy in this action exceeds the sum of $75,000 exclusive of

interest and costs and is between citizens of different states. Accordingly, this Court also has

subject matter jurisdiction pursuant to 28 U.S.C. § 1332.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391.

                                  NATURE OF THE ACTION

       6.      This is an action for declaratory judgment pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. §§ 2201, et seq. seeking a declaration by this Court of the rights of the

parties because there is an actual and justiciable controversy within this Court’s jurisdiction

concerning the non-infringement by Petmate of certain trademark rights claimed by KC Pet

Products.

       7.      By letters dated July 2, 2013 and September 13, 2013, KC Pet Products has

accused Petmate of infringing KC Pet Products alleged trademark “DryFur” in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) and has demanded that Petmate pay

monetary damages to avoid litigation and has threatened to commence litigation against Petmate

seeking actual damages and disgorgement of profits made by Petmate in connection with the sale

of certain goods which allegedly infringe KC Pet Products’ alleged “DryFur” trademark. As a

consequence of the actual controversy between the parties, Petmate seeks declaratory judgment

seeking a declaration of non-infringement and no damages under the Lanham Act.

       8.      KC Pet Products directly and/or through distribution networks and interactive

websites offers for sale, sells and/or distributes products within the State of Texas through its

interactive website through which persons in Texas can and do order products from KC Pet

Products, which are shipped by KC Pet Products to customers within the State of Texas. See,




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e.g., various websites through which KC Pet Products sells its products: http://www.dryfur.com;

http://www.classypets.com; hppt://www.sleepybod.com; hppt://www.amazon.com/pets.

       9.      KC Pet Products represents on its website (hppt://www.dryfur.com)that it sells its

products “TOUCH PETS ALL OVER THE WORLD”. To improve shipping efficiency and

speed, KC Pet Products has relocated its place of business to the Portland International Airport

where it is close to FedEx, USPS, VHL and UPS, which helps in shipping its DryFur products to

its customers. A true and correct copy of a page of KC Pet Products’ website is attached as

Exhibit A, at Appx. 001.

                                      OPERATIVE FACTS

       10.     Petmate is a leading manufacturer and seller of pet care products and solutions,

which it sells under a family of trademarks including “Petmate” and “Aspenpet”.

       11.     In addition to selling pet carriers designed for transporting pets during travel, in

June, 2013 Petmate introduced an airline travel kit which allows pet owners to comply with the

airline requirements concerning the manner in which occupied pet carriers must be secured and

marked during airline transport.

       12.     The airline travel kits which are sold under the trademarks “Petmate” and

“Aspenpet” include the following:

               (1)    Spill resistant food and water cup;
               (2)    Cut-to-fit absorbent kennel pad;
               (3)    Nuts and bolts (metal);
               (4)    “Live Animals” stickers;
               (5)    Temporary pet I.D. tag;
               (6)    Zip ties; and
               (7)    Shipping identification sticker.

       A true and correct copy of a PowerPoint description of the Petmate Airline Travel Kit is

attached as Exhibit B, at Appx. 003. A true and correct copy of a PowerPoint description of the

Aspenpet Airline Travel Kit is attached as Exhibit C, at Appx. 009.

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       13.     As part of the development of the airline travel kits as a new product, for

comparison purposes, Petmate purchased airline travel kits manufactured by others, including an

airline travel kit sold by KC Pet Products under the name “DryFur.”

       14.     The DryFur Airline Travel Kit, like all airline travel kits contains a set of “Live

Animals” stickers, which are labels that adhere to the sides of the travel carrier that identify the

contents of the carrier as a live animal. All such labels must comply with IATA/USDA

regulations, which require the labels be white with green letters. Accordingly, all “Live

Animals” stickers look substantially the same.

       15.     In preparing photographs of the Petmate and Aspenpet Airline Travel Kits for use

in packaging, labeling and advertising of the Petmate and Aspenpet Airline Travel Kits, a

photographer inadvertently applied the “Live Animals” stickers from a DryFur Airline Travel Kit

to a pet carrier which was then photographed and used in packaging and promotional material for

the Petmate and Aspenpet Airline Travel Kits. True and correct photographs of the packages of

both the Petmate and Aspenpet Airline Travel Kit packages are displayed below:




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       16.     The “Live Animals” sticker inadvertently photographed for use and packaging of

the Petmate and Aspenpet airline travel kits contained the following words in 3/8 inch type:

“DRYFUR.com, KC PET PRODUCTS, LLC (888) 250-4824.” Due to the small font size the

quoted language is illegible and impossible to read as it appears on the packaging of both the

Petmate and the Aspenpet Airline Travel Kits. A true and correct copy of the DryFur “Live

Animals” sticker is attached as Exhibit D, at Appx. 015.

       17.     In addition to the packaging, the photographs of the Petmate and Aspenpet Airline

Travel Kits containing the “Live Animals” sticker from the DryFur Airline Travel Kit were also

used in a PowerPoint presentation used by Petmate sales representatives demonstrating the new

airline travel kit products to potential customers. While barely legible, the above quoted

language including the word “DRYFUR” appears on the “Live Animals” sticker portrayed in the

PowerPoint presentation. See, e.g., Exhibit B at Appx. 004, and Exhibit C at Appx. 010.

       18.     Notwithstanding that Petmate predominately displays its trademarks “Petmate”

and “Aspenpet” on the packaging of its airline travel kits and in the PowerPoint presentation, KC

Pet Products has accused Petmate of using the “DryFur” trademark of KC Pet Products to sell its

airline travel kits which it claims is a “direct violation” of Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a).

       19.     Upon receipt of the letter from counsel for KC Pet Products setting forth claims of

trademark infringement, Petmate immediately discontinued all further production of packaging,

marketing and PowerPoint presentations utilizing the inadvertently included “Live Animals”

sticker and prepared all new packaging, brochures and PowerPoint presentations utilizing its own

“Live Animals” sticker. A true and correct copy of Petmate’s “Live Animals” sticker is attached

as Exhibit E, at Appx. 016.



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       20.     Notwithstanding the foregoing, KC Pet Products has continued to demand

payment of monetary damages by Petmate and continues to threaten litigation against Petmate

for damages allegedly sustained as a consequence of Petmate’s inadvertent use of the “Live

Animals” sticker which contains in 3/8 inch print, the word: “DryFur.”

       21.     Petmate believes and therefore alleges that it has taken all reasonable and

necessary measures to remediate any possible monetary damages or other harm to KC Pet

Products.

       22.     Petmate does not believe that its inadvertent and short lived use of the “Live

Animals” sticker, which contains the illegible and diminutive word “DryFur” in conjunction with

its packaging and sales materials related to the Petmate and Aspenpet Airline Travel Kits that

predominately display the “Petmate” and “Aspenpet” trademarks has caused in the past or is

likely to cause in the future any confusion among the relevant purchasing public.

       23.     Notwithstanding the foregoing, the continued threats of litigation by KC Pet

Products have created an actual and justiciable controversy and conflict which Petmate seeks to

have remedied by the entry of Declaratory Judgment.

                                   REQUEST FOR RELIEF

       24.     Petmate respectfully requests that this Court grant the following relief:

               (a)    Declare that Petmate has not infringed, either directly or indirectly, and is
                      not infringing either directly or indirectly the “DryFur” trademark, as the
                      “DryFur” trademark inadvertently included in Petmate materials is illegible
                      and did not cause customer confusion as a matter of law;

               (b)    Declare that KC Pet Products recovers nothing from Petmate;

               (c)    Enjoin KC Pet Products and its representatives and any successors and
                      assigns thereof from charging or asserting any infringement of the “DryFur”
                      trademark against Petmate or any person or entity in privity with Petmate in
                      connection with the inadvertent and discontinued use of a photograph of a
                      “DryFur” Live Animals sticker;


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